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 NAME, ADDRESS, AND TELEPHONE NUMBER OF ATTORNEY(S)                                                                            CLEAR FORM
 OR OF PARTY APPEARING IN PRO PER

 Howard E. King - SBN 77012
 John G. Snow - SBN 280790
 King, Holmes, Paterno & Soriano, LLP
 1900 Avenue of the Stars, 25th Floor
 Los Angeles, CA 90067-4506
 (310) 282-8989

 ATTORNEY(S) FOR:     Plaintiffs
                                               UNITED STATES DISTRICT COURT
                                              CENTRAL DISTRICT OF CALIFORNIA
                                                                              CASE NUMBER:
Jacob L. Nygard p/k/a Cake Nygard, Donglee
Han, Clare Maguire, and Antonius Wiriadjaja                                                     22-cv-00425-DOC-DFM
                                                              Plaintiff(s),
                                     v.
Taylor Whitley p/k/a Taylor.WTF                                                              CERTIFICATION AND NOTICE
                                                                                               OF INTERESTED PARTIES
                                                             Defendant(s)                          (Local Rule 7.1-1)

TO:      THE COURT AND ALL PARTIES OF RECORD:

The undersigned, counsel of record for                                       Plaintiffs
or party appearing in pro per, certifies that the following listed party (or parties) may have a pecuniary interest in
the outcome of this case. These representations are made to enable the Court to evaluate possible disqualification
or recusal.
                (List the names of all such parties and identify their connection and interest. Use additional sheet if necessary.)

                               PARTY                                                   CONNECTION / INTEREST
Jacob L. Nygard                                                               Plaintiff
Donglee Han                                                                   Plaintiff
Clare Maguire                                                                 Plaintiff
Antonius Wiriadjaja                                                           Plaintiff
Taylor Whitley                                                                Defendant




         3/21/2022                                         /s/ John G. Snow
         Date                                              Signature


                                                           Attorney of record for (or name of party appearing in pro per):

                                                           Plaintiffs



CV-30 (05/13)                                           NOTICE OF INTERESTED PARTIES
